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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

The Sustainability Institute, et al.,          ) Civil Action Number: 2:25-cv-02152-RMG
                                               )
                        Plaintiffs,            )
                                               )
                vs.                            )
                                               )
DONALD J. TRUMP, in his official               )
capacity as President of the United States,    )
et al.,                                        )
                                               )
                        Defendants.            )

                 DEFENDANTS’ EMERGENCY MOTION TO STAY
             COURT’S ORDER FOR EXPEDITED DISCOVERY (ECF No. 45)

        Defendants respectfully file this emergency motion to stay the Court’s April 7, 2025 Order

for expedited discovery (ECF No. 45) in light of the United States Supreme Court’s April 4, 2025

decision in Department of Education v. California, No. 24A910, 2025 WL 1008354 (Apr. 4, 2025)

(per curiam).

        The Court’s Order requires five federal agencies—United States Department of

Government Efficiency (DOGE), United States Environmental Protection Agency (EPA), United

States Department of Agriculture (USDA), United States Department of Transportation (DOT),

and United States Department of Energy (DOE) (collectively the “Federal Agencies”)—to respond

to discovery requests by April 17, 2025 at 5:00 p.m., in advance of the Court’s April 23, 2025

hearing on Plaintiffs’ Motion for Preliminary Injunction. ECF No. 45. The Order requires EPA,

USDA, DOT, and DOE to produce the following:

                All documents prepared, received, possessed or transmitted from
                January 20, 2025 to the present which reference in any way any of
                the grants set forth in Dkt. No. 25-1 at 14-20 and which relate in any
                manner to the freezing, pausing, and/or terminating of access to the
                grant funds to the grant recipients who are parties to this litigation.
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               These documents include, but are not limited to, those documents
               which reference in any way the reasons for any such freeze, pause,
               and/or termination of access to grant funds and further include any
               documents relating to freezing, pausing, or terminating grant funds
               under the agency’s supervision received from DOGE. This Request
               includes all documents in your possession, custody, and/or control.

ECF No. 45 at 5-6. The Order requires DOGE to produce:

               All documents prepared, received, possessed or transmitted from
               January 20, 2025 to the present which reference in any way any of
               the grants set forth in Dkt. No. 25-1 at 14-20 and which relate in any
               manner to the freezing, pausing, and/or terminating grant funds to
               the grant recipients who are parties to this litigation. These
               documents include, but are not limited to, those documents which
               reference in any way the reasons for any such freeze, pause, and/or
               termination of access to grant funds or involve a general directive or
               instruction from DOGE to any agency or agency official to pause,
               freeze and/or terminate grant funding at issue in this litigation. This
               Request includes all such documents in your possession, custody
               and/or control.

ECF No. 45 at 5.

       Defendants opposed Plaintiffs’ request for expedited discovery (ECF No. 25) and, on April

7, 2025, filed a Motion to Reconsider the Order requiring discovery (ECF No. 46). Because the

Order requires Defendants to respond to the discovery no later than April 17, 2025, Defendants

now seek emergency relief in the form of a stay.

       As referenced in Defendants’ Motion for Reconsideration (ECF No. 46), the Supreme

Court’s April 4, 2025 decision in Department of Education v. California, No. 24A910, 2025 WL

1008354 (Apr. 4, 2025) (per curiam) forecasts that this Court does not have subject matter

jurisdiction over Plaintiffs’ claims.

       In California, the Supreme Court indicated that the Tucker Act applies to actions

challenging federal grant terminations and, as a result, jurisdiction over those actions lies solely in


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the Court of Federal Claims. See California, 2025 WL 1008354, at *1. In light of the Supreme

Court’s decision, requiring Defendants to participate in discovery in a case that, according to the

Supreme Court, this Court likely does not have jurisdiction over is manifestly unjust and contrary

to controlling law. Accordingly, the Court should stay its Order. The Court should defer any

discovery until Plaintiffs can overcome the clear indication from the Supreme Court’s decision in

California that Plaintiffs are barred from pursuing their claims in this Court.

       In California, the plaintiffs sought preliminary relief enjoining the government from

terminating grant awards under two programs administered by the United States Department of

Education. The United States District Court for the District of Massachusetts entered injunctive

relief against the government. See California v. U.S. Dep’t of Educ., No. 25-10548-MJJ, 2025 WL

760825 (D. Mass. Mar. 10, 2025). The First Circuit Court of Appeals affirmed. See California v.

U.S. Dep’t of Educ., No. 25-1244, 2025 WL 878431, at *2 (1st Cir. Mar. 21, 2025). Plaintiffs in

the instant case relied on the First Circuit’s decision in their Reply in Support of Motion for

Expedited Discovery in support of the position that the Tucker Act does not apply and, therefore,

Defendants’ anticipated motion to dismiss for lack of subject matter jurisdiction would fail. See

ECF No. 44 at 4 and n.3.

       In its decision in California, the Supreme Court stayed the orders entered by the

Massachusetts District Court, explaining that the government is “likely to succeed in showing the

District Court lacked jurisdiction to order the payment of money under the APA.” 2025 WL

1008354, at *1. Instead, the Court explained, suits seeking relief like that sought by the California

plaintiffs belong in the Court of Federal Claims. Id. In addition, the Court concluded that the

remaining stay factors were met, because the government will be harmed if it is unable to “recover


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the grant funds once they are disbursed” while, conversely, grant recipients “can recover any

wrongfully withheld funds through suit in an appropriate forum.” Id.

       The Supreme Court’s decision underscores that this Court likely lacks jurisdiction over

Plaintiffs’ claims and should stay its ruling allowing expedited discovery (ECF No. 45). Other

district courts have changed course in light of the Supreme Court’s decision in California. For

example, in New York v. Trump, No. 25-cv-39—a case on which Plaintiffs rely in their Complaint

(ECF No. 1 at 59, ¶ 216), their Motion for Preliminary Injunction (ECF No. 24-1 at 14), and their

Reply in Support of Motion for Expedited Discovery (ECF No. 44 at 3)—the District of Rhode

Island granted an emergency motion to stay the order enforcing the preliminary injunction. See

New York v. Trump, No. 1:25-cv-39 (JJM) (Text Order entered Apr. 7, 2025). This Court should

likewise stay its Order allowing expedited discovery.

       As outlined in Defendants’ opposition to Plaintiffs’ Motion for Expedited Discovery (ECF

No. 39), courts should address jurisdictional arguments before permitting parties to engage in

discovery. For example, in In re Musk, Case No. 25-5072, Order (D.C. Cir. Mar. 26, 2025), decided

before the Supreme Court ruled in California, the D.C. Circuit granted an emergency motion for

stay on the basis that “petitioners [had] shown a likelihood of success on their argument that the

district court was required to decide their motion to dismiss before allowing discovery.” (citing

Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 389-90 (2004)). Defendants’ argument in this

respect is significantly stronger in light of the Supreme Court’s California decision. The California

court effectively answered the question of jurisdiction, finding “the Government is likely to

succeed in showing the District Court lacked jurisdiction to order the payment of money under the

APA” because the Tucker Act applies to claims related to the termination of grants and the Tucker


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Act vests jurisdiction solely in the Court of Federal Claims. 2025 WL 1008354, at *1. Indeed,

Justice Jackson’s dissents makes clear the effect of the per curiam opinion: “the Court now has

determined that, at least in this context, restoring the grants at issue might qualify as an order to

‘enforce a contractual obligation to pay money’ such that it is the Court of Federal Claims, rather

than the District Court, that has jurisdiction over Plaintiff States’ challenges.” Id. at *10 n.7.

       In light of California, the Court should stay any discovery obligations until the Court

addresses jurisdiction. This is particularly the case with respect to DOGE, an organization within

the Executive Office of the President. The Supreme Court has made clear that discovery directed

at the Office of the President must be reserved for the rarest and most exceptional of all

circumstances. See Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 385-92 (2004). It is

permissible, if at all, only when strictly necessary; only after all other avenues for resolving the

plaintiffs’ claims have been explored; and only when drawn as narrowly as possible. Id.

       Defendants respectfully inform the Court that, in the event the Court declines to stay the

Order requiring expedited discovery, Defendants intend to file an emergency motion to stay and

petition for writ of mandamus with the Fourth Circuit Court of Appeals. Accordingly, Defendants

respectfully request that this Court rule on this stay motion by April 10, 2025, to provide

Defendants time to seek relief from the Fourth Circuit and the Supreme Court, if necessary.

       Prior to filing this motion, undersigned counsel conferred with counsel for Plaintiffs.

Plaintiffs oppose this motion and intend to respond.

                                       CONCLUSION

       For the reasons set forth above, in light of the Supreme Court’s decision in California,

Defendants respectfully request that the Court stay its Order (ECF No. 45) for expedited discovery.


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                                         Respectfully submitted,

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April 8, 2025




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